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05
                              UNITED STATES DISTRICT COURT
06                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
07
     UNITED STATES OF AMERICA,            )
08                                        )
           Plaintiff,                     )
09                                        )            Case No. CR08-336-JCC
           v.                             )
10                                        )
     TOAN VAN DUONG,                      )            DETENTION ORDER
11                                        )
           Defendant.                     )
12   ____________________________________ )

13 Offenses charged:

14          Count 1:       Conspiracy to Manufacture Marijuana, in violation of 21 U.S.C. §§
                           841 (a)(1), 841(b)(1)(A) and 846.
15
            Count 4:       Manufacture of Marijuana, in violation of 21 U.S.C. §§ 841(a)(1),
16                         841(b)(1)(B) and 18 U.S.C. § 2.

17 Date of Detention Hearing:     October 15, 2008

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth,

20 finds the following:

21 FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

23 defendant is a flight risk and a danger to the community based on the nature of the pending

24 charges. Application of the presumption is appropriate in this case.

25          (2)    There is a possibility of lengthy sentence. If convicted of the charges,

26 defendant faces up to life in prison with a mandatory minimum of ten years.

     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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01          (3)     Defendant is not a citizen of the United States and has few, if any, o this

02 jurisdiction.

03          (4)     Defendant was untruthful in the pretrial services interview.

04          (5)     Based on the nature of the pending charges, defendant is considered a flight

05 risk and a danger to the community. There appear to be no conditions or combination of

06 conditions other than detention that will reasonably address the risk of flight, or ensure the

07 safety of the community.

08          IT IS THEREFORE ORDERED:

09          (1)     Defendant shall be detained pending trial and committed to the custody of the

10 Attorney General for confinement in a correctional facility separate, to the extent practicable,

11 from persons awaiting or serving sentences or being held in custody pending appeal;

12          (2)     Defendant shall be afforded reasonable opportunity for private consultation

13 with counsel;

14          (3)     On order of a court of the United States or on request of an attorney for the

15 government, the person in charge of the corrections facility in which defendant is confined

16 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

17 connection with a court proceeding; and

18          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

19 counsel for the defendant, to the United States Marshal, and to the United States Pretrial

20 Services Officer.

21                  DATED this 15th day of October, 2008.

22

23
                                                          A
                                                          JAMES P. DONOHUE
                                                          United States Magistrate Judge
24

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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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